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New York, New York 10013

 
 

  

BY ECF
Hon. Vincent L. Briccetti
United States District Judg¢

Southern District of New Ylork Dated:

300 Quarropas Street
White Plains, NY 10601

 
   

Re: United States v Sarah Gillon, 19

Your Honor:

I represent Sarah Gilld in the referenced matter, and am writing to request that she
be given permission to travel on Novembex7, 2020. When this prosecution commenced, Ms. Gillon
Higns being home detention. Ms. Gillon would ng

was released on a bond, with one of the cond
like to travel to Peekskill, NY on November 7, 2020

into account train schedules — and her need to help before and a

py jamesneuman.com

APPLICATION GRANTED

SO ORDERED:

Vincent L. Briccettt, U.S.D.J.

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SOUTHERN ESOS AG LOGE, JAMES E. NEUMAN, Pt, - _ SUN
Attorney at Law SLEe

 

 
 
 

November 5, 2020

 
 
 
   
 

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White Plains, NY ef clot ol fon anno
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Cr, 700 (VB)

   

er the event — this would entail Ms.

Gillon leaving her home at about 12 pm and returning at about 9 p.m. that evening.

The government consents to this application.

Respectfully submitted,

/s/
James E. Neuman

  
 
 
      
   
